Case 5:18-cV-OOllO-TES Document 1-2 Filed 03/29/18 Page 1 of 19

EXH|B|T ”2"

 

l gage 5;§3_@¥_@@;40__`|1§3__|;)@@Um@m '|_7 l:i|pri 03/9©/'|8 Pagp 9 rif '|Q

~£ EFlLED 1N OFFlCE
cLEF<K oF suPERiOR comm
BLEcKLEY couNTv, eEoRelA

2018\/~0020
IN THE SUPERIOR cOURT OF BLECKLEY cOUNTY _
S]~ATE OF GEORG[A MAR 02, 2016 02.04 F'M

w fhwa

Cara| Evans. C-‘Hh
Ble¢zkmy coumy, C~;aurg|a

BRANDON M. LEW]S,

Plaintiff,
CIVIL ACTION FII_,E NO.: 201 8V-0020

J. MICHAEL STEWART, THE BOARD
OF REGENTS FOR THE UNIVERSITY
SYSTEM OF GEORGIA d/b/a MIDDLE
GEORG[A STATE UNIVERSITY,

OFC. GREGORY MAULDIN, OFC. BEN
ALLEN, NEKEYRA RUMPH,

SODEXO, [NC., JOHN DOE [, JOHN
DOE II_, and CORPORATlON XYZ,

Jury trial demanded

\,./v\,»\/\/\/\_/\./\/\_/\_/\_/VV\/V\_/"/\_r

Defendants.
FLAlNTIFF’S FIRST AMENDED COMPLA[NT F()R DAMM
Now comes BRANDON M_ LEW]S (hereinafter “Mr, Lewis"'_) and__ as Plaintif‘f in the
above-styled case, hereby files and serves the instant pleading amending his Complaint for
Damages as follows
PARTlES, JUR.lSDlCTION AND VENUE
1.
Plainliff Brandon M. Lewis is a citizen and resident of Chatham County, Georgia.
2.
Defendant J. Michael Stewart is a citizen and resident of Bibb Count_v, Georgia and

maybe personally served al l 100 SE Second Street, Cochran, Georgia 31014.

CaSe 5:18-cv-OO__110-TES_ Document 1-_2 Fi_|ed 03/29/18 _, P_acte 3_0_1° 19:+\*_

3.
Defenclant Board ofRegents for the University System of Georgia d/b/a Middle Georgia
State University (hereinafter “Middle Georgia") is a Georgia non-profit corporation and maybe
served with process through its Board Secretary at its main office located at 270 Washington

Street, SW, Atlanta= Ge<)rgia 303 34.
4.

Off`icer Gregory Mauldin is a citizen and resident of Georgia and may be personally

served at 100 College Street in Cochran, Georgia 31206.
` 5.
Of{icer Ben Al|en is a citizen and resident of Georgia and may be personally served at
100 College Street in Cochran, Georgia 31206.
6.
Nekeyra Rumph is a citizen and resident of Georgia any may be personally served at
158 College Street, Cochran, Georgia 31206.
7.

Sodexo, lnc. is a foreign corporation and maybe served through its registered agent
Corporate Creations Network lnc. at 2985 Gord}r Parkway, 1Sl Floor, Marietta, Georgia 3006-6.
8.

Jurisdiction and venue are proper in this Court.
9.
Defendants have been served with a copy of the original Surnmons and Cornplaint

which was filed with this Court on February 2, 2018 and subsequently served in accordance

 

l Case 5:18-0v-OQllO-lES_[locument 1-2_____Eileo| _Q$LZQlJ_S_Eagt-;AL_QF_J_Q_______

With the law.
10.
The instant case was filed within the applicable statute of limitations
ll.
Defendants do not object to the method, manner or sufficiency of service
FACTUAL ALLEGATIONS
]2,

On or about February l, 2016, Plaintiff Brandon lvl. Lewis was a full-time student at

Middle Georgia State University completing the Spring semester of his sophornore ycar.
13.

On the above~referenoed date, M.r. lewis was taking a full course load and living in on-
calnpus housing As part ot`his enrollment, Ivlr. Lewis was on the school meal plan and was
permitted to eat meals in the school cafeteria at 158 Co|lege Street.

14.

Prior to the subject ineident, Mr. Lewis had a good academic record and did not have

any disciplinary issues
l ]5.

Prior to the subject incident, Mr. Lewis had not exhibited any violent, psychotic, angry,
aggressive hostile or concerning behaviors toward the school, the administration, teachers,
students or staff.

16.

On or around February l, 2016, lvlr. lLewis was preparing for final examinations under

 

_ __ _Case 5:18-cv-O_O__110-TE_S Document 1-2ll Filed 03/29/18 Paqe 5 of 19__

the supervision of his then instructor Ms. Estelle Nuckles. Ms. Nuckles was Mr. Lewis’
chemistry professor.
l7.

Upon leaving Proi`essor Nuckles" chemistry class that afternoon, Mr. Lewis went to the
campus cafeteria to have dinner.

18,

While waiting in the cafeteria line5 lvlr. Lewis engaged in conversation with a female
cafeteria worker whom he saw on a regular basis during the two-year period preceding the
subject incident Said worker was later identified as l\'ls. Nekcyra Rumph.

19.

Although Det`endant Rumpb was working at Middlc Georgia in the Food Services

Department, she was employed by Sodexo, lnc.
20.

Defendant Runiph was placed al Middle Georgia’s campus pursuant to its contract with
Sodexo, lnc. Defcndant Rumph was hired, trained and paid by Sode);o, lnc. for the work
performed there and Sodexo, lnc. maintained control over the method and manner of her duties.

21.

On Feb`ruary l, 20l8 at approximately 7:00 pm, Det`endant Rumph and l\'lr. Lewis
exchanged casual conversation During said conversation Defendant Rumph asked Mr. Lewis
how he was doing, and he responded that he was tircd. When she asked why, he explained that
he was preparing for tinals and had just come from a chemistry cl ass. When she asked him why
he looked so tired, Mr. Lewis _iokingly made the statement that it felt like they were making

bombs all day. 'l`hc two of them laughed

 

,_ _CaSe 5:18-cV-OOllO-TES Document 1_-2 Filed QLZQ/LS_- Paqe 6 of 19

22.

As Mr. Lewis exited the food line, he smiled at Defendant Rumph and the two

exchanged farewells before he went to his seat to eat dinner
23.

Shortly'thereafter, several officers from Middle Georgia`s Campus Police Department

entered the cafeteria and approached Mr. Lewis’ table where he was eating alonel
24.
When asked what occurred, I\/lr. Lewis recapped his conversation With Defendant
Rumph. n
25.
At that point, Sgt. Gregory Mauldin placed Mr. Lewis in handcuffs and detained hint
26.

After placing Mr. Lewis in handcuffs, Defendants Mauldin and Allen continued to
question him in the cafeteria which was full of students Mr. l_,ewis gave the officers consent to
search his person, his bookbag and other items in his possession

27.

Said search did not produce any evidence of a born b_, bomb-making activity or any other

criminal misconduct
28.

At that point, students began to gather around and stare. Several students who knew Mr.
Lewis approached him to ask why he was being arrested Mr. Lewis advised these students to
calm down and allow the police to do their job. At all times relevant to this incident Mr. Lewis

responded calmly and obeyed all of the ofticers` questions and demands

 

QaSe 5:18-cV-OOlllO-TES __ D c me|nt 1-2 Filed 03_/2_|9_/18 Paqe 7 of 19

29.

Eventually, Defendants Mauldin and Allen escorted Mr. Lewis out ot` the cafeteria in
restraints, through the hallways, and out of the building in front of fellow classrnates, students,
teachers and staff Defendants Mauldin and Allen placed M`r. Lewis in the back seat ot` a patrol
vehicle while they continued their search.

30.

Mr. Lewis gave officers consent to search his personal vehicle which was parked nearby,
his domtitory room and his school issued locker. Ot`f`icers used bomb sniffing dogs to conduct
the search

31.

After this search was completed, there was no evidence of a bonib, bomb-making

activity or any other criminal misconduct
32.

Despite a total absence of evidence pointing to the existence of a bomb or otherwise
showing that a terroristic threat regarding same had been made, Defendants Mauldin and Allen
contacted Defendant _Stewart who informed them that Middle Georgia wanted to pursue
criminal charges and directed them to move forward with the arrest and prosecution l

33.

Defendants Mauldin and Allen charged l_vlr. Lewis with the felony offense of Teiron'stic
Threats pursuant to O.C.G.A. § 16-11-37 and transported him to the Bleckley County Law
Enforcement Center, where he was booked and jailed on said charge

34.

After a preliminary hearing and posting bond, l\/h'. Lewis was released from custody on

_ @s_e 5:18-cV-OOllO-TES Document 1-2 Filed 03/29/18 _F_>age_ 8 ot _19

February' 23 2016
35.
At no time did Mr. Lewis resist arrest, or otherwise act inappropriately or aggressively
towards officers or anyone else.

36.

 

Mr. Lewis was unlawfully handcuffed and detained for several hours by Defendants
and/or their agents Said arrest deprived him of physical liberties exposed him to undue
embarrassment and criminalization and subjected him to other indignities related to criminal
prosecution Mr. l_-ewis has suffered additional hardships having lost time and money as a result
of the temporary suspension and having to return to a campus under the shadow of felony
charges Thc subject felony charges have prevented Mr. Lewis from transferring schools and
from pursuing other perso-nal, professional and academic opportunities which he was otherwise
qualified for.

37.

Det`endant Stewart, and other members of Mid.dle Georgia’s faculty and staff later
dismissed the charge of terroristic threats from the school conduct proceeding finding that
there was insufficient evidence to support such a charge Although faculty agreed that
dismissing the charge was the correct thing to do, they stated that they “had no control"’ over
the prosecutor and could not force the State to dismiss the felony charge against Mr. Lewis.

38.
AS of the date of this tiling, the felony Terroristic Threats charge is still pending against

Mr. Lewis and has caused h'un to suffer significant personal and economic damages

Case 5:18-c\Lj_OOllO-TES__ [_)oc|ument_l_-_Z Filed 93/29/t8 Eade 9 ot 19

CAUSES ()F ACTION *.LQAINST DEF`F§NDA NTS

DEFENDANT .I. MICHAEL STEWART
Count I- False Arrest/False Imprisonment

39.

l\/lr, Lewis hereby alleges and incorporates by reference all allegations contained in

Paragraphs l through 38 of the Complaint as if set forth fully herein.
40.

At the time of the subject incident, Defendant Stewart was the Assistant Vice President
of Student Aft`airs for Middle Georgia’s Macon and Cochran campuses Defendant Stewart was
also serving as the Chief Student Conduct 0fl`icer. in that capacity, Defendant Stewart was
responsible for overseeing and investigating student misconduct, conducting school disciplinary
hearings and imposing sanctions up to and including criminal arrest.

41`

Defendant Stewart instructed campus police to arrest Mr. Lewis which lead to the

initiation of the criminal process
42.

The actions and statements of Dei`endant Stewart, made without full personal knowledge
and investigation ofthe incident, resulted in a wrongful detention and unlawful arrest and showed
a reckless disregard for Mr. Lewis" rights, freedoms and privileges

43.
The subject arrest constitutes a false arrest and/or false imprisonment in violation of

Georgia law.

 

___ CHSQ 5218-CV_-O_OllO-_Tl§_ DOCU_m€nt 1-2 Filed 03/29/18 Page 10 Of 19

44.
As a result of Defendant Stewart’s actions, Mr. Lewis has suffered substantial injury and
damages in an amount to be further developed during discovery and proven at trial.
Count Il- lnfliction of Emotional Distress
45.
Mr. l_ewis hereby alleges and incorporates by reference all allegations contained in
Paragraphs l through 44 of the Complaint as ifset forth fully herein
46.
'l`he actions of Defendant Stewart were so outrageous, egregious and reckless that they
rise to the level of negligent and/or intentional infliction of emotional distress upon Mr. Lewis.
47.
Mr. Lewis suffered significant injuries as a result of said action in an amount to be
further developed in discovery and proven at trial.
Count III~ 42 U.S.C. § 1983 and Constitutional Violations
48.
Mr. Lewis hereby alleges and incorporates by reference all allegations contained in
Paragraphs l through 47 ot` the Complaint as if set forth fully herein
49.
ln his official capacity and as a representative of Middle Georgia Defendant Stewart
was a state officer acting under color of law.
50.

At all times relevant to this action, Mr. Lewis, as a citizen ot` these Unitcd States, was

__ __ _ ___|__Case 5:18-0 l-_O - _ ;2 __Fi|___ed_:Q$[ZQLl§__Eage_l_lof;LB_i__

entitled to the rights, privileges and freedoms guaranteed by the Fourth Arnendrnent,
Fourteenth Amendment, Eighth Amendment of the U.S_ Constitution, Georgia State
Constitution and other provisions of law. By ordering Mr. Lewis` arrest without sufficient
probable cause, Defendant Stewart unnecessarily and unlawfully deprived him of his

constitutional rights

51.

As a proximate result oi` Defendant Stewart"s actions, Mr. Lewis has suffered a

violation of his fundamental rights and has suffered injuries in an amount to be further
developed during discovery and proven at trial.
52.
Defendattt Stewart"s actions are not protected by any form of immunity.

TH.E BOARD OF REGEN'I`S FOR THE UNIVERSITY SYSTEM OF CEORGlA d/b/a
Ml.DDLE GEORGlA STATE UNIVERS[TY

Count IV- 42 U.S.C. § 1983 and Constitutional Violations

53.

Mr. Lewis hereby alleges and incorporates by reference all allegations contained in
Paragraphs l through 52 of the Complaint as if set forth fully herein.
54.
Ar all times relevant to the subject complaint,_Det`endant Stewarr was employed by the
Midd le Georgia and was acting in the course and conduct of his employment l
55. l
As stated, Del`endants Middle Georgia and Michael Stewan violated Mr. Lewis’ rights l

liberties, freedoms and privileges granted to him by the United States Constitutions, Georgia

_Case 15'18-0V¢QQ1_.;_1:O¢I_|;'_S .DQQ§JYQ

Constitution and other common and statutory provisions of law.
56.

Defendant Middle Georgia is responsible for providing law enforcement services for
campuses within the University of Georgia school system. Defertdant Middle Georgia, while
acting under color of state law, employed customs, policies and/or procedures which resulted in
the Wrongful arrest of Mr. Lewis.

57.

Defendant l\'.liddle Georgia’s failure to properly screen._ train and supervise its police
officers and its subsequent decision to arrest Mr. Lewis without probable cause deprived him of
his legal ri ghts.

58.

As a result of said actions, Mr. Lewis has suffered significant injury giving rise to a claim
under 42 U.S.C. § l983.

59.

The actions of Defendants Middle Georgia and l\/lichael Stewart are not protected by
sovereign and/or official immunity

POL]CE OFFICERS GREGORY MAULDIN AND BEN ALLEN
Count VI- 42 U.S.C. § 1983 and Constitutional Violations

60.
Mr. Lewis hereby alleges and incorporates by reference all allegations contained in

Paragraphs l through 59 of the Cornplaint as it` set forth fully herein
61.

At all times relevant to this Complaint Del`endants Mauldin and Allen were acting within

 

Case_ 5:18-cv-0011Q;TE_S [_)ocument 1-2 Filed 03/29/1__8 Pade__llS of 19

the scope ot`their employment as Post Certified law enforcement officers under color ot`state
law.
62.

By arresting him without probable cause, Defendants Mauldin and Ajlen violated the
rights liberties, freedoms and privileges granted to Mr. Lewis by the United States and Georgia
Constitutions and the common and statutory provisions of law.

63.

Said actions resulted in significant injuries to Mr. Levvis in an amount to be further

developed during discovery and proven at trial.

Count VIl» Falsc Arrest/False Imprisonment

64.
Mr. Lewis hereby alleges and incorporates by reference all allegations contained in

Paragraphs l through 63 ofthe Complaiut as if set forth fully herein.

65.

At all times relevant to this action, Defendants Mauldin and Allen lacked sufficient

probable cause to arrest Plaintii.f
66.

The unlawful arrest conducted by Defendants Mauldin and Allen violated state laws
prohibiting false arrest and/or false imprisonment
67.

As a result of the of`ficers’ conduct, Plaintii=f suffered significant injury in an amount

to be further developed during discovery and proven at trial.

Case 5:18-cV-001_19-TES [_)oc_ument 1-2_ Fi|e_d_O§/_ZQ/_l$ Paqe_ 14 of 19
l t - _ -_

68.
Defendant Mauldin and Defendant Allen"s conduct is not protected by the doctrine of
sovereign or official immunity
Count VIH- Infliction of Emotion al Distress
70.

Mr. Lewis hereby alleges and incorporates by reference all allegations contained in

Paragraphs l through 69 of the Complaint as if set forth fully herein
7l.

By failing to investigate the case to determine probable cause_. Det`endant Mauldin
and Allen’s actions were so outrageous and reckless that they constituted a total disregard
for Mr. Lewis’ freedoms and liberties Said actions caused severe injury and emotional
distress t`or Mr. l,ewis and constituted negligent/intentional infliction of emotional distress
for Which Mr. Lewis should be allowed to recover.

NEKEY_RAH RUMPH
IX~ False Arrest/False Imprisonment

72.
Mr. Lewis hereby alleges_and incorporates by reference all allegations contained in
Paragraphs 1 through 71 of the Complaint as if set forth fully herein
73,
On the day of the subject incident, Defendant Rumph was employed by Sodexo, lnc. as
a food service worker. As an employee, Defendant Rumph was hired, paid and trained in

accordance with Sodexo, lnc.’s policies and procedures

 

CaSe_ _5:1§-C_v-_OO_110-TE|S Document 1-2 Filed 03/29/18 q Page 15 of 19 __‘_

74.
Defendant was Working in the course and scope of her employment with Sodexo, Inc.
When she told her supervisor that I\/lr. Lewis said he Was making bombs in class. Based on her
training and instruction and pursuant to Sode>;o, lnc. policies, Det`endant Rumph reported a bomb
threat to the police.

75,

By making said false and inflammatory statement, Defendant Rumph instigated the
arrest which lead to Mr. Lewis’ unlawful arrest and subsequent injuries
SODEXO, lNC.
X- Respondeat Superior
76.
Mr. L,ewis hereby alleges and incorporates by reference all allegations contained in
Paragraphs l through 75 of the Complaint as if set forth fully herein
77.
At the time said comments were made, Defendant Rumph and her supervisor were

employed by Sodexo, lnc. ‘l`heir comments, reports and remarks about Mr. Lewis were made

during the course and scope of their employment
78.
As an employer, Sodexo, lnc. is responsible for the actions, torts and other wrongful acts
oi`its employees committed during the course and scope of their employment
XI- Negligent ering, Training and/or Super'vision
79.

Mr. Lewis hereby alleges and incorporates by reference all allegations contained in

Case 5;18_-cV-00110-TES Document_1-2 Filed 03/29/18___Paoe__1§of 19

Paragraphs l through 78 of the Cornplaint as ifset forth f"‘.!j' herein.
79.

Sodexo_. lnc. owed a duty to the public in general and to Mr. Lewis in partieular, to

adequately screen_, train and supervise its employees
80.

Soclexo, lnc. breached its duty to Plaintiff by failing to properly train, super\'ise, and/or
hire individuals qualified to make reports on matters pertaining to bomb threats, when and how
police intervention is required and how to refrain from making reports that lead to the wrongful
arrest of otherwise law~abiding citizens like Mr. Lewis.

8 l.

Said failw'e on the part of Sodexo, lnc. has led to the unlawful arrest and the resulting
physical. emotional and economic damages suffered by Mr. `Lewis.

XII~ False Arrestflmprisonment !
82.

Plaintiff hereby alleges and incorporates by reference as if set forth fully herein his

allegations contained in Paragraphs l through 81 of Plaintift"s Complaint,
83.
At all times relevant to this Complaint, the conduct of Sodexo, lnc. employees as

agents oi.` the company, resulted in the Wrongfiil arrest and unlawful detention of Mr. l,ewis.

__et_Se_B:_lS-Cv-OOllp-TES D:c&i___e;nt 1-2 Filed 03/29/18 Page 17 of_1_9_\ _ __ _

84.

Said arrest was a violation of Georgia law and caused Mr. Lewis to suffer substantial

injury and damages
DAMAGES
83.

Mr. Lewis hereby alleges and incorporates by reference as if set t`orth fully herein his

allegations contained in Paragraphs l through 82 ofPlaintit'i`s Complaint.
84.

As a result of Defendants’ actions Mr. Lewis is entitled to general damages to be
determined by the trier ol`fact.

85.

The above-described actions of Defendants amount to that entire want of care as would
constitute a conscious indifference to the consequences to Mr. Lewis in this case and/or willful
misconduct. and/or oppression and, aceordingly_. pursuant to O.C.G.A. § 51-l2-5.l, Mr. Lewis
should be awarded punitive damages to deter Defendants from similar conduct in the future

WHEREFQRE, Plainti ff prays:

l. 'lhat this Arnended Complaint be filed with the Clerk of Court;
2. Tl'tat Defendants be held liable for damages to Mr. Lewis in an amount

to be proven at trial;

L;J

That Mr, Lewis be awarded general and consequential damages in an
amount to be determined at trial_;
4. That Mr. Lewis be awarded punitive damages in an amount to be

determined at trial;

Cas_e 5:1_8-_0!-00110-TES Document 1-2 Fi_|gdg$_/_Z_Q/l$_ Page 18_ of 1_£_9 _

 

5. `I`hat Mr. Lewis be awarded all costs and attorney’s fees;
l
6. T hat this case be tried before ajury of twelve; and
7. That Mr. L,ewis be awarded such other and further relief as this Couit`

deems just and proper.
Respectfully submitted_. this 2'“1 day of March, 2018.

TI'IE LAW OFFICE OF
SHALENA COOK JONES, LLC

. L.
, \
Shalei Cool< Jonc§, Esq.

Georgia Bar No.:526846
l909 Abercorn Street Coum'e/ for Plaintt'[j‘"
Sa\'annah, Georgia 31401
Tel.: (912) 501-3434
Fax: (912) 504-3504
Email: Ms@lgiieslan»ofc.coni

 

 

_Case 5:18-cV-OOllO-TES Document 1-2 |_:i_|ed 03/29/18 Page 19_01°_19

CERTIFICATE OF SIBRVLCE

l HEREBY CERTIFY that l have this day filed and served a true and accurate copy of

the foregoing pleading PLA [NTIFF’S FIRST AMENDED COMPLAINT, upon the parties

oi` record and oi' their counsel by filing same using the PeachCourt electronic system and by

depositing same in die U.S. Mail with proper postage affixed and addressed as follows;

 

J. Michael Stewart
VP of Student Affairs
100 University Parkway
Macon, Georgia 31206

Nel<.eyi~a Rumph

Middle Georgia State Universi`ty- Cafeteria
Services

158 College Street

Cochran, Georgia 3 l Ol 4

 

The Board ot`Regents for the University
System of Georgia d/b/a Middle Georgia
State University

270 Washington, SW

Suite #7002

Atla.nta, Georgia 30334

Sodexo, Inc

c/o Corporate Crea'tions Networl<, lnc_
2985 Gordy Parkway, ]SL Floor
Marietta., Georgia 30066

 

Sgt. Gregory Mauldin

M.iddle Georgia State Univel‘sity Catnpus
Police Depai“trnent

100 College Street

Cochran, Georgia 31206

Mr. Alan M, Maxwell, Esq.

Weinberg_. Wheeler, _l-ludgins, Gunn & D`ia.l,
LLC

3344 Peachtree Road NE, Suite 2400
Atlanta, Georgia 30326

 

Sgt. Ben Allen

Middle Georgia State.l,lniversi.ty Canipus
Pol`ice Department

100 College Street

l Cochran._ Georgia 31206

 

 

 

 

This Z"d day of l\']arch, 2018.

 

ShalenaL£.ook Jonesv
Cozmse[_ i' Plaintiff

